Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 1 of 94




                EXHIBIT B
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 2 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 3 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 4 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 5 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 6 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 7 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 8 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 9 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 10 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 11 of 94
        Case 3:24-cv-05639-BHS             Document 1-2             Filed 08/05/24     Page 12 of 94




                   Superior Court of Washington, Thurston County
 Plaintiff / Petitioner:
     State of Washington Department of Health               Case No. 24-2-02712-34

                                                            Notice of Hearing for Civil Motions
 Defendant / Respondent:
                                                             Effective: 01/01/2024
     The GEO Group, Inc.                                    (NTHG)
To the Court Clerk and all parties:

  1. A court hearing has been scheduled for: _August 9, 2024______(date).

    The hearing will be before the assigned Judge or Commissioner. The hearing will take place at
    2000 Lakeridge Drive SW, Building 2; Olympia, WA 98502.


  2. The name of the motion or type of hearing is: _Motion for Preliminary Injunction_________
     Required: The motion was filed           with this notice or     previously on: _July 30, 2024_ (date).

  3. The hearing should be scheduled as a:
        Unlawful Detainer Ex Parte (Wednesday 9:00 Administrative Session – DO NOT GO TO COURT)
        Unlawful Detainer Motion (Friday 9:30 a.m.)
        Trial Setting under LCR 40 (Friday 9:00 Administrative Session – DO NOT GO TO COURT)
        Dispositive Motion -- Summary Judgment, CR 12(b)(6), or CR 12(c) motion (Friday 9:00 a.m.)
        Other Civil Motion (Friday 9:00 a.m.)

                                                Warnings!
   If you do not go to the hearing, the court may sign orders without hearing your side.
   You will need to check that the session is available before you schedule a hearing. You can see
    whether a session is full on the Clerk’s website: www.co.thurston.wa.us/clerk.

   If this notice is incomplete or contains an incorrect date, time, or conflicting information, your hearing
    may not be scheduled, and you will not be notified. You can verify whether a hearing was scheduled
    at: https://odysseyportal.courts.wa.gov/odyportal.

   You need to schedule this hearing at least six business days ahead of time. More time is required for
    dispositive motions (28 days) and some other matters. Consult local and state court rules.


 Notice of Hearing for Civil Motions
 (11/28/23)
       Case 3:24-cv-05639-BHS              Document 1-2            Filed 08/05/24       Page 13 of 94




 4. Declaration of Service                                 5. Person Scheduling this Hearing:
 I declare that on August 9, 2024, I  deposited in the
                                                           Name of party: Marsha Chien____________________
 United States mail,  delivered through a legal
 messenger service,  electronically delivered per         Sign:             _s/ Marsha Chien____________________
 agreement between the parties, a copy of this notice of
                                                           Print Name: Marsha Chien__________________________
 hearing, the motion, and all paperwork filed along with
 the motion, to all people listed below in section 6.      WSBA # 47020_____________________ (if attorney)

                                                           Address:          PO Box 40100_______________________
 I declare under penalty of perjury under the laws of
 Washington State that the foregoing is true and           City/State/Zip:    Olympia, WA 98503_________________
 correct.                                                  Telephone:          360-753-6200_____________________
 Signed at Olympia          (city) _WA______     (State)
                                                           Email: Marsha.Chien@atg.wa.gov_________________
 on _July 30, 2024_ (date signed).
 _Leena Vanderwood________________(printed name)           Date:      July 30, 2024_____________________________
 __s/ Leena Vanderwood________________(signature)



 6. Names and Contact Information for Everyone Notified of this Hearing

 Name:      Harry Korrell____________________________       Name: _________________________________________

 Attorney for:     Defendant The GEO Group, Inc.________    Attorney for:    ___________________________________

 WSBA #: ______________________________________             WSBA #: ______________________________________

 Address:         HarryKorrell@dwt.com________________      Address: _______________________________________

    ____________________________________________               ___________________________________________

 Telephone:        206-757-8080______________________       Telephone: _____________________________________


 Name: ________________________________________             Name: _________________________________________

 Attorney for:    __________________________________        Attorney for:    ___________________________________

 WSBA #: ______________________________________             WSBA #: ______________________________________

 Address:        ____________________________________       Address: _______________________________________

    ____________________________________________               ___________________________________________

 Telephone: ____________________________________            Telephone: _____________________________________

 Name: ________________________________________             Name: _________________________________________

 Attorney for:    __________________________________        Attorney for:    ___________________________________

 WSBA #: ______________________________________             WSBA #: ______________________________________

 Address: ______________________________________            Address: _______________________________________

 ______________________________________________              ______________________________________________

 Telephone: ____________________________________            Telephone: _____________________________________



Notice of Hearing for Civil Motions
(11/28/23)
        Case 3:24-cv-05639-BHS              Document 1-2     Filed 08/05/24    Page 14 of 94




 1    Hearing date: August 9, 2024
      Hearing time: 9:00 am
 2    Judge/Calendar:
      Hon. Wilson / Civil
 3

 4

 5

 6

 7                               STATE OF WASHINGTON
                            THURSTON COUNTY SUPERIOR COURT
 8
     STATE OF WASHINGTON,                                  NO. 24-2-02712-34
 9   DEPARTMENT OF HEALTH,
                                                           MOTION FOR PRELIMINARY
10                             Plaintiff,                  INJUNCTIVE RELIEF

11      v.

12   THE GEO GROUP, INC.,

13                             Defendant.

14                                     I.       INTRODUCTION

15           In the past year, the Washington State Department of Health (Department), has received

16   over 700 hundred complaints from detainees about conditions at the Northwest Immigration

17   Processing Center (NWIPC), a private detention facility owned and operated by The GEO

18   Group, Inc. (GEO). These complaints run the gamut from medical neglect to insufficient food to

19   lack of clean laundry. As alleged, these complaints present clear threats to detainee health and

20   safety at NWIPC. The Department thus sought to inspect GEO’s facility under RCW 43.70.170,

21   which authorizes it to investigate public health threats in Washington. But GEO blocked the

22   Department. Despite having allowed the Washington State Department of Labor & Industries

23

      MOTION FOR PRELIMINARY                          1              ATTORNEY GENERAL OF WASHINGTON
                                                                           1125 Washington Street SE
      INJUNCTIVE RELIEF                                                         PO Box 40100
                                                                           Olympia, WA 98504-0100
                                                                                (360) 753-6200
         Case 3:24-cv-05639-BHS           Document 1-2         Filed 08/05/24      Page 15 of 94




 1   (L&I) to perform an inspection a week prior, GEO denied the Department’s inspection to

 2   proceed further than the entry area’s bathroom.

 3          GEO’s denial of the Department’s entry is unlawful. The Department has broad authority

 4   to investigate any article or condition constituting a threat to the public health including, but not

 5   limited to: outbreaks of communicable diseases, food poisoning, contaminated water supplies,

 6   and all other matters injurious to the public health. RCW 43.70.170. Our Legislature has

 7   specifically mandated the Department to “preserv[e] [the] public health” by “strictly enforce[ing]

 8   all laws for the protection of the public health and the improvement of sanitary conditions in the

 9   state.” RCW 43.70.005; see also RCW 43.70.130(3). Here, detainee complaints unquestionably

10   raised concerns that certain conditions inside NWIPC constitute a threat to the health of

11   detainees, who are members of the public the Department is legally (and morally) bound to

12   protect. GEO’s flagrant denial of the Department’s “free and unimpeded access” to NWIPC thus

13   plainly violates State law and puts detainees at immediate and serious risk. RCW 43.70.170.

14          Therefore, pursuant to RCW 43.70.190, the Department moves this Court to enter an

15   order, enjoining GEO from refusing the Department entry so the Department may investigate

16   threats to the public health under RCW 43.70.170.

17                                  II.     EVIDENCE RELIED ON

18          In support of the Department’s motion, the following declarations are included:

19          1.      Marsha Chien, Deputy Solicitor General;

20          2.      Eric Arroyo, Compliance Safety and Health Investigator, Washington State

21   Department of Labor & Industries;

22          3.      Soleil Muniz, Complaint Enforcement Lead, Washington State Department of

23   Health; and

      MOTION FOR PRELIMINARY                             2              ATTORNEY GENERAL OF WASHINGTON
                                                                              1125 Washington Street SE
      INJUNCTIVE RELIEF                                                            PO Box 40100
                                                                              Olympia, WA 98504-0100
                                                                                   (360) 753-6200
           Case 3:24-cv-05639-BHS          Document 1-2       Filed 08/05/24      Page 16 of 94




 1           4.      Joe Barbee, Public Health Analyst 3, Washington State Department of Health,

 2   Environmental Public Health Division, Office of Drinking Water.

 3                                  III.    STATEMENT OF FACTS

 4   A.      The Department’s Attempts to Exercise its Public Health Authority

 5           Since April 2023, the Department of Health has received over 700 complaints from

 6   detainees inside NWIPC. Muniz Decl. ¶ 5. Among other things, these complaints paint a stark

 7   portrait of GEO’s lack of attention to medical needs, contaminated food, insufficient food, dirty

 8   clothes and bedding, brown water, and hunger strikes. Id.

 9           Detainees have complained about a lack of medical care. Id. ¶ 6. Medical concerns

10   reported include stroke, paralysis, heart conditions, internal bleeding, and asthma; detainees say

11   GEO has failed to address these health conditions. Id. One detainee asked to be taken to the

12   hospital, but was refused; another broke their arm, and it took several days before the arm was

13   placed in a cast. Id.

14           Detainees also raise concerns about GEO’s potential neglect of detainees’ mental health

15   conditions. Id. ¶ 7. A detainee with mental health issues soiled their clothing but was refused

16   clean clothing by one of the guards. Id. In the past six months, there have been reports of a rash

17   of suicide attempts, showing that mental health concerns at the facility are going unaddressed.

18   Id.

19           Detainees have complained that the food provided by GEO contains foreign objects

20   including burned plastic, metal string, rope, and splinters. Id. ¶ 8. The food is of low-quality and

21   is typically soy-based meat substitutes. Id. A detainee on a medically-prescribed diet to include

22   fruits and vegetables was refused such a diet. Id. Detainees report the food tastes and smells

23   spoiled, makes their stomach hurt, and they do not receive enough to eat. Id.

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                                                                             Olympia, WA 98504-0100
                                                                                  (360) 753-6200
        Case 3:24-cv-05639-BHS            Document 1-2       Filed 08/05/24      Page 17 of 94




 1          Detainees have complained they are unable to care for basic personal hygiene needs.

 2   Id. ¶ 9. Clothing, sheets, and blankets are rarely changed or laundered and when returned, they

 3   are not clean. Id. Clothing is not replaced when worn out; detainees have only one change of

 4   clothes, and often that change of clothes has been previously worn by other detainees and not

 5   washed in between. Id.

 6          Detainees have complained the facility is unsanitary; bathrooms are rarely cleaned, the

 7   toilets are often blocked, floors go unswept, mold is visible, and the facility smells like a dirty

 8   bathroom. Id. ¶ 10.

 9          Lastly, detainees report that the water is brown and possibly contaminated. Id. ¶ 11. As

10   this water is detainees’ only source for drinking, bathing, laundry and food preparation, the

11   Department takes the prospect of water contamination very seriously. Id.

12          Obviously, these many, many allegations of health and safety violations from the people

13   detained in NWIPC have caused the Department to become concerned that conditions in NWIPC

14   pose an imminent threat to the health of detainees and employees. Id. ¶ 12. These conditions

15   compelled the Department to investigate the facility under RCW 43.70.170. Id.

16          On July 18, 2024, the Department attempted to conduct an inspection under

17   RCW 43.70.170. Id. ¶ 13; Muniz Decl., Ex. A. In requesting access, the Department informed

18   GEO it specifically needed to inspect the facility’s water quality, air quality, COVID and disease

19   infection protocols, mental health care, and living conditions and hygiene. Muniz Decl., Ex. A.

20          GEO permitted the Department to perform a limited inspection of the water quality by

21   testing the water in the bathroom next to the lobby; however, it denied the Department further

22   entry. Barbee Decl. ¶ 9. This limited access does not allow adequate testing of the water quality

23   at the facility. Id. ¶¶ 12–16. And of course, GEO’s refusal of entry beyond the lobby bathroom

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                                                                             1125 Washington Street SE
      INJUNCTIVE RELIEF                                                           PO Box 40100
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          Case 3:24-cv-05639-BHS                Document 1-2            Filed 08/05/24         Page 18 of 94




 1   blocked the Department from investigating the many other public health complaints it received

 2   from detainees. Barbee Decl. ¶¶ 9, 16; Muniz Decl. ¶ 16. According to the public health experts

 3   at the Department, the conditions at NWIPC pose active public health threats. Barbee Decl. ¶ 7;

 4   Muniz Decl. ¶ 17.

 5   B.       Legal Background

 6            This case is part of a cluster of disputes stemming from GEO’s near-total effort to block

 7   State oversight of its facility. After GEO initially blocked inspectors from both the Department

 8   of Labor and Industries and the Department of Health, both departments separately sued to gain

 9   access to GEO’s facility so they could do their job of protecting the public. In response, a federal

10   district court determined that Labor and Industries had authority to inspect the NWIPC under its

11   general authority, but not under a specific law authorizing inspections of private detention

12   facilities. See Department of Labor and Industries v. GEO Secure Services, LLC, No. C24-5095

13   BHS, Doc. No. 50 (W.D. Wash. July 1, 2024), Chien Decl., Ex. A; see also

14   Department of Health v. The GEO Group, Inc., No. C24-5029 BHS, Doc. No. 49 (W.D. Wash.

15   July 1, 2024), Chien Decl., Ex. B. 1

16            In the L&I matter, the court granted a preliminary injunction under RCW 49.17.070, a

17   generally applicable safety and health law protecting GEO employees. Chien Decl., Ex. A at 3.

18   The GEO Group, Inc. v. Inslee, No. C23-5626 BHS, 2024 WL 1012888, at *24–26 (W.D. Wash.

19

20             1
                 A separate lawsuit—GEO v. Inslee, Case No. 3:23-cv-05626-BHC (W.D. Wash.)—concerns HB 1470,
     a separate law that supplements state agencies’ pre-existing investigation authority to investigate potential health
21   and safety issues by, among other things, specifically directing the Department and Labor and Industries to inspect
     private detention facilities in Washington. The district court concluded that this law impermissibly singled out GEO
     because NWIPC is the only private detention facility in Washington. The GEO Group, Inc. v. Inslee, No. C23-5626
22   BHS, 2024 WL 1012888, at *24–26 (W.D. Wash. Mar. 8, 2024). That ruling is currently on appeal. But because
     this case concerns only the Department’s pre-existing authority to investigate public health threats, that ruling has
23   no bearing on this case.

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                                                                                         1125 Washington Street SE
      INJUNCTIVE RELIEF                                                                       PO Box 40100
                                                                                         Olympia, WA 98504-0100
                                                                                              (360) 753-6200
         Case 3:24-cv-05639-BHS            Document 1-2       Filed 08/05/24      Page 19 of 94




 1   Mar. 8, 2024). Shortly thereafter, L&I successfully completed a comprehensive inspection of

 2   GEO’s facility in Tacoma. Arroyo Decl. ¶ 6.

 3          As for the DOH matter, the court sua sponte found that the Department never explicitly

 4   attempted to inspect under its general authority, RCW 43.70.170, and so the Department lacked

 5   Article III standing to seek injunctive relief based on what the court deemed a hypothetical

 6   refusal. Chien Decl., Ex. B at 3. The court explained that it would have to “speculate as to

 7   whether GEO would have denied DOH access to the NWIPC had the agency cited and explained

 8   the suspected conditions that constitute ‘a threat to the public health’.” Id. The court later

 9   declined to determine whether the Department had made a sufficient showing under its general

10   authority, asserting: “A state court would be better suited to interpret the language of this

11   statute.” Chien Decl., Ex. B at 19.

12          Now, there is no need to speculate. GEO has denied the Department access to the NWIPC

13   when the agency specifically cited its general authority and the public health threats posed.

14   Muniz Decl., Ex. A; RCW 43.70.170. Therefore, the Department files this action with this Court,

15   seeking a preliminary injunction to inspect the NWIPC under its general authority.

16                                         IV.     ARGUMENT

17          This Court should restrain GEO from denying the Department entry to its facility under

18   the Department’s authority to investigate conditions that threaten public health. In general, a

19   party seeking injunctive relief must show that (1) they have a clear legal or equitable right; (2)

20   that there is a well-grounded fear of immediate invasion of that right; and (3) the act, or acts,

21   complained of have either resulted, or will result, in actual and substantial injury. See Tyler Pipe

22   Indus., Inc. v. State Dep’t of Revenue, 96 Wn.2d 785, 792, 638 P.2d 1213 (1982). Also, since

23   injunctions are within the equitable powers of the court, these criteria must be examined in light

      MOTION FOR PRELIMINARY                            6              ATTORNEY GENERAL OF WASHINGTON
                                                                             1125 Washington Street SE
      INJUNCTIVE RELIEF                                                           PO Box 40100
                                                                             Olympia, WA 98504-0100
                                                                                  (360) 753-6200
          Case 3:24-cv-05639-BHS          Document 1-2        Filed 08/05/24      Page 20 of 94




 1   of equity, including the balancing of the relative interests of the parties and the interests of the

 2   public, if appropriate. Rabon v. City of Seattle, 135 Wn.2d 278, 284, 957 P.2d 621 (1998).

 3          A reviewing court may resolve purely legal questions in determining the propriety of a

 4   preliminary injunction order. San Juan County v. No New Gas Tax, 160 Wn.2d 141, 154,

 5   157 P.3d 831 (2007).

 6   A.     The Department Has a Legal Right to Investigate Public Health Threats

 7          In determining whether injunctive relief is appropriate, the court must determine whether

 8   the Legislature has provided the Department with clear legal authority to access GEO’s facility

 9   so it may investigate public health threats. The Legislature has tasked the Department with

10   “preservation of public health” by “strictly enforc[ing] all laws for the protection of the public

11   health and the improvement of sanitary conditions in the state.” RCW 43.70.005;

12   RCW 43.70.130(3). To meet these demands, the Department may investigate any article or

13   condition constituting a threat to the public health including, but not limited to:

14                 outbreaks of communicable diseases,

15                 food poisoning,

16                 contaminated water supplies, and

17                 all other matters injurious to the public health.

18   RCW 43.70.170. For purposes of such an investigation, the Department “shall at all times have

19   free and unimpeded access to all buildings.” Id.

20          The complaints received by the Department unquestionably describe conditions that

21   constitute a threat to public health, including conditions specifically enumerated in statute. For

22   example, the water serving as detainees’ only source for drinking, bathing, laundry, and food

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      MOTION FOR PRELIMINARY                            7               ATTORNEY GENERAL OF WASHINGTON
                                                                              1125 Washington Street SE
      INJUNCTIVE RELIEF                                                            PO Box 40100
                                                                              Olympia, WA 98504-0100
                                                                                   (360) 753-6200
        Case 3:24-cv-05639-BHS           Document 1-2        Filed 08/05/24      Page 21 of 94




 1   preparation, is described as brown, which means it is possibly contaminated. Muniz Decl. ¶ 11;

 2   Barbee Decl. ¶¶ 6–7. Similarly, a “lack of attention to medical needs” coupled with the

 3   unsanitary conditions at the facility certainly raises the risk of an “outbreak of communicable

 4   diseases” (and at a minimum, implicates the same public health concerns). RCW 43.70.170;

 5   Muniz Decl. ¶ 6.

 6          Moreover, the statute does not limit the Department to certain enumerated risks, but

 7   broadly authorizes it to inspect “all other matters injurious to the public health.” This means

 8   what it says: all matters that may harm the public are covered. See, e.g., Spokane Cnty. Health

 9   Dist. v. Brockett, 120 Wn.2d 140, 149, 839 P.2d 324 (1992) (“[P]ublic health statutes and the

10   actions of local health boards implementing those statutes are liberally construed.”); Snohomish

11   Cnty. Builders Ass’n v. Snohomish Health Dist., 8 Wn. App. 589, 595, 508 P.2d 617, 621 (1973)

12   (“It is a recognized basic principle that statutes concerning public health and safety should be

13   liberally construed.”). “[T]hreats to public safety come in all shapes and sizes[.]” Headworks

14   Hand Crafted Ales, Inc. v. Wash. State Liquor & Cannabis Bd., 29 Wn. App. 2d 460, 473,

15   540 P.3d 863 (2024), review denied sub nom. Headworks Hand Crafted Ales, Inc. v. Wash. State

16   Liquor & Cannabis Bd., 29 Wn.2d 460, 547 P.3d 901 (2024). The rash of suicide attempts at

17   NWIPC certainly qualify. Muniz Decl. ¶ 7. So too food that is inadequate, spoiled, or

18   “contaminated [with] foreign objects including burned plastic, metal string, rope, and splinters,”

19   may be injurious to detainees’ health, and thus falls within the Department’s ambit. Id. ¶ 8. Any

20   one of these would be an active threat to public health that the Department may (and must)

21   investigate and if true, enjoin. Muniz Decl. ¶ 17; RCW 43.70.190. Taken together, these 700-

22   plus complaints indicate a full-blown public health crisis.

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      MOTION FOR PRELIMINARY                           8              ATTORNEY GENERAL OF WASHINGTON
                                                                            1125 Washington Street SE
      INJUNCTIVE RELIEF                                                          PO Box 40100
                                                                            Olympia, WA 98504-0100
                                                                                 (360) 753-6200
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 1          To be clear, and lest there be any doubt, detainees are members of the public whose health

 2   the Department is charged with protecting under RCW 43.70.170. Muniz Decl. ¶ 12. As already

 3   noted, “statutes concerning public health and safety should be liberally construed.” Snohomish

 4   Cnty. Builders Ass’n, 8 Wn. App. at 595 (citing State ex rel. McBride v. Superior Court for King

 5   Cnty., 103 Wash. 409, 427, 174 P. 973, 979 (1918)). Washington public health legislation often

 6   broadly cites concerns for “Washington residents.” See, e.g., RCW 43.70.495(1). And when

 7   reviewing for preemption, the Supreme Court has recognized a state’s police powers “to legislate

 8   as ‘to the protection of the lives, limbs, health, comfort, and quiet of all persons.’ ” Metro. Life

 9   Ins. Co. v. Massachusetts, 471 U.S. 724, 756, 105 S. Ct. 2380, 85 L. Ed. 2d 728 (1985) (emphasis

10   added). During the COVID public health crisis, courts specifically recognized the threat to

11   immigrant detainees’ health as a public health threat. See, e.g., Zepeda Rivas v. Jennings,

12   No. 20-CV-02731-LB, 2023 WL 5663153, at *1 (N.D. Cal. Aug. 30, 2023) (releasing detainees

13   because conditions at immigration detention center threatened their health during “public-health

14   crisis”). This Court should construe “public health” broadly to include the health of all

15   Washington residents.

16          The Legislature mandates that the Department preserve public health and grants the tools

17   and access that the Department needs to fulfill its duty. RCW 43.70.005; RCW 43.70.130(3);

18   RCW 43.70.170; and RCW 43.70.190. This Court should affirm the Department’s right to enter

19   GEO and perform an inspection limited to the threats of public health identified by the

20   Department.

21

22

23

      MOTION FOR PRELIMINARY                            9              ATTORNEY GENERAL OF WASHINGTON
                                                                             1125 Washington Street SE
      INJUNCTIVE RELIEF                                                           PO Box 40100
                                                                             Olympia, WA 98504-0100
                                                                                  (360) 753-6200
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 1   B.      The Department Has a Well-Grounded Fear of Invasion of Its Legal Right to Access
             GEO’s Facility So It May Investigate Complaints
 2
             The second prong is easily satisfied as GEO refuses to allow the Department to enter its
 3
     facility further than a lobby bathroom, despite the Department citing its general authority and
 4
     identifying potential public threats that need to be investigated. Barbee Decl. ¶ 9; Muniz Decl.,
 5
     Ex. A; Chien Decl., Ex. B at 3. GEO’s refusals invade the Department’s right (and duty) to
 6
     access NWIPC and investigate conditions that threaten public health. RCW 43.70.170. Actual
 7
     invasion of the Department’s right clears the hurdle set for the second prong, a fear that its legal
 8
     right might be invaded. Tyler Pipe Indus., Inc., 96 Wn.2d at 792.
 9
     C.      There Have Been and Will Be Actual and Substantial Injury to the Department’s
             Authority and the Public Health If Inspections of a Private Detention Facility Is Not
10           Allowed

11           The Department and the public have suffered and will continue to suffer injury from

12   GEO’s refusal to allow the Department to fulfill its duty to protect the public. Courts recognize

13   that interference with statutory authority harms the state. See Maryland v. King, 567 U.S. 1301,

14   1303, 133 S. Ct. 1, 183 L. Ed. 2d 667 (2012) (Roberts, C.J., in chambers) (“[A]ny time a State

15   is enjoined by a court from effectuating statutes enacted by representatives of its people, it suffers

16   a form of irreparable injury.”); Valentine v. Collier, 956 F.3d 797, 803 (5th Cir. 2020) (“The

17   Texas Legislature assigned the prerogatives of prison policy to [the corrections department]. The

18   district court’s injunction prevents the State from effectuating the Legislature's choice and hence

19   imposes irreparable injury.” (citation omitted)). On this basis, GEO’s refusal to allow the

20   Department’s entry as the statute requires, causes an ongoing and concrete harm to Washington’s

21   public safety interests. See King, 567 U.S. at 1303.

22

23

      MOTION FOR PRELIMINARY                             10              ATTORNEY GENERAL OF WASHINGTON
                                                                               1125 Washington Street SE
      INJUNCTIVE RELIEF                                                             PO Box 40100
                                                                               Olympia, WA 98504-0100
                                                                                    (360) 753-6200
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 1          GEO’s conduct in blocking state inspectors also risks irreparable harm to the wellbeing

 2   of GEO’s employees and detainees. This safety threat is not abstract. The Department has

 3   received hundreds of complaints, falling well within the categories identified by the Legislature

 4   as a threat to public health. Muniz Decl., Ex. A; RCW 43.70.170. If true, these Washingtonians

 5   are suffering right now. And they will continue to suffer injury as long as GEO blocks access to

 6   even the most basic state oversight. If the Department finds that conditions within NWIPC

 7   indeed threaten public health, the Department expects to work with GEO to address those issues,

 8   and ensure that detainees are afforded basic safety and health while in custody. But absent even

 9   an inspection, detainees may be forced to endure inhumane conditions without any hope of

10   reprieve.

11   D.     The Balance of Equities Tips in the State’s Favor and an Injunction Is in the Public
            Interest
12
            Concerns about the health and safety impacts of detainees are central to the inquiry into
13
     equity and the public interest. As the Ninth Circuit confirmed, “health and safety” risks to
14
     immigrant detainees by conditions at immigration facilities favor an injunction protecting their
15
     health. Roman v. Wolf, 977 F.3d 935, 944 (9th Cir. 2020); City & County of San Francisco v.
16
     U.S. Citizenship & Immigr. Servs., 981 F.3d 742, 762 (9th Cir. 2020). In Washington, as well,
17
     when public safety is a risk, the equities tip in favor of preservation. Nw. Gas Ass’n v.
18
     Utils. & Transp. Comm’n, 141 Wn. App. 98, 123 (2007) (danger to public safety outweighed
19
     newspapers interests in obtaining pipeline data). Moreover, Washington’s Legislature has
20
     specifically declared it is “of importance to the people of Washington state to live in a healthy
21
     environment and to expect a minimum standard of quality in health care.” RCW 43.70.005.
22

23

      MOTION FOR PRELIMINARY                          11             ATTORNEY GENERAL OF WASHINGTON
                                                                           1125 Washington Street SE
      INJUNCTIVE RELIEF                                                         PO Box 40100
                                                                           Olympia, WA 98504-0100
                                                                                (360) 753-6200
         Case 3:24-cv-05639-BHS           Document 1-2        Filed 08/05/24      Page 25 of 94




 1          GEO may argue the equities tip in its favor, because the Department’s inspections pose

 2   a security threat to NWIPC. However, GEO’s allowance of the Washington State Labor and

 3   Industries’ inspection negates this argument. See Arroyo Decl. ¶¶ 3–6. On July 8, 2024,

 4   Washington State’s Department of Labor and Industries performed an unannounced and

 5   comprehensive inspection of NWIPC. Arroyo Decl. ¶¶ 3, 6. The inspectors were able to inspect

 6   the entirety of GEO’s worksite with GEO escorts in tow. Arroyo Decl. ¶ 5. This inspection

 7   demonstrates GEO is able to maintain security simply by escorting inspectors during an

 8   inspection.

 9          Additionally, DOH inspections further the public interest by increasing facility

10   transparency and accountability. Washingtonians have “a legitimate and substantial interest in

11   the conduct of certain private institutions.” Nw. Gas Ass’n, 141 Wn. App. at 122 (cleaned up).

12   And improved public oversight and accountability further the public interest. See, e.g., Valentine

13   v. Collier, 978 F.3d 154, 166 (5th Cir. 2020) (“the public interest favors having politically

14   accountable officials . . . determine how to allocate resources[ ]” in the prison context); Conn.

15   State Police Union v. Rovella, 494 F. Supp. 3d 210, 224–25, 230 (D. Conn. 2020), aff’d, 36 F.4th

16   54 (2d Cir. 2022) (observing that public interest and equity supported “the state’s salutary efforts

17   to enhance transparency and promote accountability in law enforcement[ ]”). GEO’s efforts to

18   shield its activities from scrutiny undermine the health and safety of Washingtonians and the

19   public’s interest in transparency.

20          The public interest and equities tip sharply in favor of the Department’s requested

21   injunction.

22

23

      MOTION FOR PRELIMINARY                            12             ATTORNEY GENERAL OF WASHINGTON
                                                                             1125 Washington Street SE
      INJUNCTIVE RELIEF                                                           PO Box 40100
                                                                             Olympia, WA 98504-0100
                                                                                  (360) 753-6200
         Case 3:24-cv-05639-BHS           Document 1-2         Filed 08/05/24     Page 26 of 94




 1                                   V.      RELIEF REQUESTED

 2          The Department seeks an order, enjoining GEO from preventing the Department’s entry

 3   into NWIPC and allowing the Department to enter NWIPC to investigate complaints made by

 4   detainees that pose a threat to public health.

 5          DATED this 30th day of July 2024.

 6                                                    ROBERT W. FERGUSON
                                                      Attorney General
 7
                                                      /s/ Marsha Chien
 8                                                    MARSHA CHIEN, WSBA 47020
                                                      CRISTINA SEPE, WSBA 53609
 9                                                    Deputy Solicitors General
                                                      1125 Washington Street SE
10                                                    PO Box 40100
                                                      Olympia, WA 98504-0100
11                                                    (360) 753-6200
                                                      Marsha.Chien@atg.wa.gov
12                                                    Cristina.Sepe@atg.wa.gov

13                                                    ELLEN RANGE, WSBA 51334
                                                      ANDREW HUGHES, WSBA 49515
14                                                    Assistant Attorneys General
                                                      Complex Litigation Division
15                                                    800 Fifth Avenue, Suite 2000
                                                      Seattle, WA 98104
16                                                    (206) 464-7744
                                                      Ellen.Range@atg.wa.gov
17                                                    Andrew.Hughes@atg.wa.gov

18                                                    LILIA LOPEZ, WSBA 22273
                                                      Senior Counsel
19                                                    Agriculture and Health Division
                                                      1125 Washington Street SE
20                                                    Olympia, WA 98504-0100
                                                      (360) 586-6500
21                                                    Lilia.Lopez@atg.wa.gov

22                                                    Counsel for Department of Health

23

      MOTION FOR PRELIMINARY                             13             ATTORNEY GENERAL OF WASHINGTON
                                                                              1125 Washington Street SE
      INJUNCTIVE RELIEF                                                            PO Box 40100
                                                                              Olympia, WA 98504-0100
                                                                                   (360) 753-6200
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 27 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 28 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 29 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 30 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 31 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 32 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 33 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 34 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 35 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 36 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 37 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 38 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 39 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 40 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 41 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 42 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 43 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 44 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 45 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 46 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 47 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 48 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 49 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 50 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 51 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 52 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 53 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 54 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 55 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 56 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 57 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 58 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 59 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 60 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 61 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 62 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 63 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 64 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 65 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 66 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 67 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 68 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 69 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 70 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 71 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 72 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 73 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 74 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 75 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 76 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 77 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 78 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 79 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 80 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 81 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 82 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 83 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 84 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 85 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 86 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 87 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 88 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 89 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 90 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 91 of 94
Case 3:24-cv-05639-BHS   Document 1-2   Filed 08/05/24   Page 92 of 94
        Case 3:24-cv-05639-BHS               Document 1-2     Filed 08/05/24     Page 93 of 94




 1    Hearing date: August 9, 2024
      Hearing time: 9:00 am
 2    Judge/Calendar:
         Hon. Wilson / Civil
 3

 4

 5

 6

 7

 8

 9                               STATE OF WASHINGTON
                            THURSTON COUNTY SUPERIOR COURT
10
     STATE OF WASHINGTON,                                  NO. 24-2-02712-34
11   DEPARTMENT OF HEALTH,
                                                           DECLARATION OF SERVICE
12                              Plaintiff,

13      v.

14   THE GEO GROUP, INC.,

15                              Defendant.

16

17           I certify under penalty of perjury under the laws of the state of Washington that I caused
18   the documents referenced below to be served as follows:
19           DOCUMENTS:
20                  Case Information Cover Sheet;
21                  Summons;
22                  Complaint for Injunctive Relief;
23                  Notice of Assignment & Blank Scheduling Questionnaire;
24                  Notice of Hearing;
25                  Motion for Preliminary Injunction;
26                  Declaration of Eric Arroyo;


     DECLARATION OF SERVICE                            1               ATTORNEY GENERAL OF WASHINGTON
                                                                             1125 Washington Street SE
                                                                                  PO Box 40100
                                                                             Olympia, WA 98504-0100
                                                                                  (360) 753-6200
       Case 3:24-cv-05639-BHS        Document 1-2        Filed 08/05/24    Page 94 of 94




 1               Declaration of Joe Wesley Barbee Jr.;

 2               Declaration of Amanda Soliel Maria Muñiz;

 3               Declaration of Marsha Chien; and

 4               Proposed Order Granting Motion for Preliminary Injunctive Relief
 5

 6        COPY TO: Harry Korrell, HarryKorrell@dwt.com               [X] Via Electronic Mail

 7

 8        DATED this 30th day of July 2024 at Seattle, Washington.

 9                                            ROBERT W. FERGUSON
                                              Attorney General
10
                                              /s/ Marsha Chien
11                                            MARSHA CHIEN, WSBA 47020
                                              CRISTINA SEPE, WSBA 53609
12                                            Deputy Solicitors General
                                              1125 Washington Street SE
13                                            PO Box 40100
                                              Olympia, WA 98504-0100
14                                            (360) 753-6200
                                              Marsha.Chien@atg.wa.gov
15                                            Cristina.Sepe@atg.wa.gov
16                                            ELLEN RANGE, WSBA 51334
                                              ANDREW HUGHES, WSBA 49515
17                                            Assistant Attorneys General
                                              Complex Litigation Division
18                                            800 Fifth Avenue, Suite 2000
                                              Seattle, WA 98104
19                                            (206) 464-7744
                                              Ellen.Range@atg.wa.gov
20                                            Andrew.Hughes@atg.wa.gov
21                                            LILIA LOPEZ, WSBA 22273
                                              Senior Counsel
22                                            Agriculture and Health Division
                                              1125 Washington Street SE
23                                            Olympia, WA 98504-0100
                                              (360) 586-6500
24                                            Lilia.Lopez@atg.wa.gov
                                              Counsel for Department of Health
25

26


     DECLARATION OF SERVICE                      2               ATTORNEY GENERAL OF WASHINGTON
                                                                       1125 Washington Street SE
                                                                            PO Box 40100
                                                                       Olympia, WA 98504-0100
                                                                            (360) 753-6200
